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       Exhibit A
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Report for User 742211                                                             Dropbox, Inc.


Basic Information
User ID                   742211

Full Name                 Larry harmon

Email Address             larry@hwisite.com



Account Creation Date
2009-03-12 14:07:56 UTC


Account Status
Active


Billing Activity
No information available.


Authentication Log
                         Timestamp                                IP Address
2018-07-11 23:51:26 UTC                         No information available.
2018-07-14 22:26:12 UTC                         No information available.
2018-07-14 22:29:22 UTC                         No information available.
2018-07-14 22:29:53 UTC                         No information available.
2018-07-14 22:40:00 UTC                         No information available.
2019-04-10 21:20:01 UTC                         No information available.
2019-05-02 19:57:09 UTC                         No information available.
2019-05-03 03:14:00 UTC                         No information available.
2019-05-03 03:22:11 UTC                         No information available.
2019-05-14 16:21:11 UTC                         No information available.
2019-05-28 19:53:45 UTC                         No information available.
2019-05-28 19:55:15 UTC                         No information available.
2019-05-28 19:56:25 UTC                         No information available.
2019-05-28 19:56:54 UTC                         No information available.
2019-05-28 19:57:21 UTC                         No information available.


                                                                                              1
                                                                       Dropbox_000003
                 Case 1:19-cr-00395-BAH Document 40-2 Filed 06/03/20 Page 3 of 5
Report for User 742211                                                             Dropbox, Inc.

2019-09-09 14:39:33 UTC                         76.188.97.67
2020-03-20 21:44:03 UTC                         65.31.4.127
2020-03-26 16:35:10 UTC                         65.31.4.127
2020-04-27 12:56:24 UTC                         65.31.4.127
2020-05-19 18:14:59 UTC                         65.31.4.127



Linked Computer Information
                 Last Ping Time/Date                              IP Address
2009-12-01 19:33:48 UTC                         89.149.244.120
2009-12-08 22:54:03 UTC                         174.100.168.7
2010-03-03 20:11:41 UTC                         93.182.130.69
2010-03-22 14:22:36 UTC                         99.16.111.9
2010-03-31 14:59:17 UTC                         208.68.193.3
2010-04-15 22:19:00 UTC                         76.73.7.218
2010-04-29 19:04:26 UTC                         98.27.243.168
2010-07-19 15:19:18 UTC                         204.45.110.234
2010-08-27 22:17:38 UTC                         174.107.151.255
2010-09-02 22:27:44 UTC                         68.233.228.123
2010-10-08 03:27:47 UTC                         68.233.228.123
2010-12-03 09:08:52 UTC                         64.186.130.100
2010-12-04 01:20:04 UTC                         66.7.223.43
2010-12-08 03:50:58 UTC                         199.34.120.129
2011-02-06 16:11:33 UTC                         64.186.130.100
2012-01-20 22:13:00 UTC                         199.34.120.129
2012-01-24 00:22:00 UTC                         199.34.120.130
2012-06-20 14:22:00 UTC                         173.243.126.156
2012-07-26 20:38:00 UTC                         173.243.126.154
2012-09-06 20:57:58 UTC                         199.34.120.130
2012-09-07 19:27:00 UTC                         199.34.120.129
2013-01-25 19:43:00 UTC                         71.64.125.16
2013-05-08 15:28:00 UTC                         98.27.138.247
2013-06-03 22:46:00 UTC                         173.243.126.154
2013-06-04 14:25:00 UTC                         98.27.138.247
2013-06-06 16:29:00 UTC                         66.109.19.68



                                                                                              2
                                                                       Dropbox_000004
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Report for User 742211                                                             Dropbox, Inc.

2013-06-07 23:00:46 UTC                         98.27.138.247
2013-06-13 19:48:00 UTC                         98.27.138.247
2013-08-05 00:00:00 UTC                         71.64.125.16
2013-10-24 20:47:00 UTC                         98.27.138.247
2013-10-25 19:27:00 UTC                         98.27.138.247
2013-12-05 04:22:00 UTC                         173.243.126.154
2013-12-19 15:14:00 UTC                         67.225.228.82
2014-09-13 17:36:47 UTC                         23.125.205.124
2014-09-20 17:52:50 UTC                         98.27.138.247
2014-09-21 17:37:24 UTC                         98.27.138.247
2014-11-06 20:46:48 UTC                         192.34.83.109
2015-04-09 06:07:51 UTC                         50.23.196.92
2016-05-05 01:39:06 UTC                         104.36.4.31
2017-09-21 20:54:31 UTC                         104.36.6.155
2018-06-28 01:25:04 UTC                         65.25.96.130
2019-01-09 18:47:02 UTC                         76.188.97.67
2019-05-24 05:13:02 UTC                         2601:646:c601:8c3b:7141:ba91:9b9f:f252
2020-02-03 23:15:20 UTC                         65.31.4.127
2020-02-06 14:47:36 UTC                         76.188.97.67



Mobile Information
                 Last Ping Time/Date                              IP Address
2011-10-13 18:37:24 UTC                         76.188.41.92
2012-12-13 21:47:38 UTC                         98.27.138.247
2013-04-15 19:24:02 UTC                         70.194.197.193
2014-03-11 23:13:17 UTC                         70.194.199.124
2015-09-23 17:17:33 UTC                         70.194.192.253
2017-04-20 22:51:07 UTC                         75.104.70.68
2017-10-17 15:08:14 UTC                         161.12.34.249
2018-07-17 00:52:54 UTC                         65.25.96.130
2020-01-20 17:42:07 UTC                         2600:1009:b05d:627a:618a:6c23:67c8:35ef




                                                                                              3
                                                                       Dropbox_000005
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Report for User 742211                                                             Dropbox, Inc.


Subscription Status
Subscription Type        Free



Two-Factor Authentication Numbers
Phone Number 1

Phone Number 2




                                                                                              4
                                                                       Dropbox_000006
